
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-10-071-CV



IN RE BILLY JOE SCALES	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied.
(footnote: 2) &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.



PER CURIAM





PANEL: &nbsp;GARDNER and MEIER, JJ.



DELIVERED: &nbsp;March 15, 2010

FOOTNOTES
1:See
 Tex. R. App. P. 
47.4.


2:This court has been informed by the district clerk’s office and by the trial court clerk for Criminal District Court No. 1 that they have not received the motion for DNA testing that relator contends he filed.
 &nbsp;Presentment of the motion to the trial court is a prerequisite to mandamus relief. &nbsp;
See O’Connor v. First Court of Appeals
, 837 S.W.2d 94, 97 (Tex. 1992) (orig. proceeding) (“Mandamus will issue when there is a legal duty to perform a non-discretionary act, a demand for performance, and a refusal.”); 
In re Chavez
, 62 S.W.3d 225, 228 (Tex. App.—Amarillo 2001, orig. proceeding) (“Indeed, one can hardly be faulted for doing nothing if he were never aware of the need to act.”). &nbsp;
Because relator’s motion has never been received by the district clerk’s office for filing, the Respondent has not been provided an opportunity to rule upon the motion. &nbsp;




